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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                Chapter 11

THE GREAT ATLANTIC & PACIFIC TEA                      Case No. 15-23007-rdd
COMPANY, INC., et al.,1
                                                      Jointly Administered
                  Debtors.
THE GREAT ATLANTIC & PACIFIC TEA                      Adv. Pro. No. 18-8245-rdd
COMPANY, INC., et al.,
                  Plaintiff,                          ANSWER

         - against -

PEPSICO, INC.; BOTTLING GROUP, LLC
(d/b/a Pepsi Beverages Company and f/d/b/a
The Pepsi Bottling Group); FRITO-LAY
NORTH AMERICA, INC.; QUAKER SALES
AND DISTRIBUTION, INC.; MULLER
QUAKER DAIRY, LLC; STACY’S PITA
CHIP COMPANY, INC.; PEPSI BOTTLING
GROUP, NJ; and PEPSI USA,
                     Defendants.
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  The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live
Better, LLC; A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.;
Borman’s, Inc.; Delaware County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza
Corp.; Montvale Holdings, Inc.; Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.;
Plainbridge LLC; Shopwell, Inc.; Super Fresh Food Markets, Inc.; The Old Wine Emporium of Westport,
Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum, Inc.
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       The above-named Defendants hereby answer Plaintiff’s Second Amended Adversary

Complaint [ECF No. 17] (“Complaint”), and aver as follows:

                                  PRELIMINARY STATEMENT

       1.      Defendants admit that GAPT has been a supermarket grocery store chain, with

stores located in New York and New Jersey, and that the Debtors filed for bankruptcy protection.

Defendants otherwise lack knowledge or information sufficient to form a belief about the truth of

the allegations in Paragraph 1.

       2.      Defendants admit that as the Debtors’ bankruptcy filings approached, the Debtors

continued operations and continued to purchase goods from Defendants Frito-Lay North America,

Inc. (“Frito-Lay”) and Bottling Group, LLC (“Bottling Group,” and together with Frito-Lay, the

“Preference Defendants”), as they had done in the past, and that Plaintiff now seeks to recover

payments from the Preference Defendants. Defendants also admit that, prior to the Debtors’

bankruptcy filings, certain of the Preference Defendants requested that certain of their invoices be

paid in fewer days. Defendants otherwise deny the allegations in Paragraph 2.

       3.      Defendants admit that for a number of years, GAPT participated in promotions

involving Defendants PepsiCo Inc. (“PepsiCo”), Bottling Group, Frito-Lay, Quaker Sales and

Distribution, Inc. (“Quaker”), and Muller Quaker Dairy, LLC (“Muller Quaker”), and that certain

promotions were undertaken prior to or after the Debtors’ bankruptcy filings and that, to the extent

any of the foregoing Defendants are found to owe any moneys to the Debtors, Defendants are

entitled to offset any such amounts against amounts owed by the Debtors to said Defendants.

Defendants deny the allegations of Paragraph 3. Answering further, any promotion involving

Stacy’s Pita Chip-branded food products would have been handled by Frito-Lay, rather than

Defendant Stacy’s Pita Chip Company, Inc. (“Stacy’s”).




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                                               PARTIES

        4.       Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 4.

        5.       Defendants admit the allegations in Paragraph 5.

        6.       Defendants deny the allegation in Footnote 2 to Paragraph 6, that “Terms defined

herein shall have the meaning ascribed to them in the GSA.” Defendants otherwise admit the

allegations in Paragraph 6.

        7.       The allegations in Paragraph 7 are conclusions of law as to which no response is

required.     To the extent a response is required, Defendants lack knowledge or information

sufficient to form a belief about the truth of the allegations in Paragraph 7.

        8.       Defendants admit that the Debtors have elected to prosecute this adversary

proceeding. Defendants otherwise lack knowledge or information sufficient to form a belief about

the truth of the allegations in Paragraph 8.

        9.       Defendants admit the allegations in Paragraph 9.

        10.      Defendants admit that Bottling Group is a limited liability company organized

under the laws of the State of Delaware. Defendants otherwise deny the allegations in Paragraph

10.   Answering further, Bottling Group has a principal place of business located at 1111

Westchester Avenue, White Plains, New York 10604.

        11.      Defendants admit the allegations in Paragraph 11.

        12.      Defendants admit the allegations in Paragraph 12.

        13.      Defendants admit that Stacy’s is a corporation organized under the laws of the

Commonwealth of Massachusetts, with a principal place of business located at 663 North Street,

Randolph, Massachusetts, and another place of business located at Attn: CFS, 1100 Reynolds

Boulevard, Winston Salem, North Carolina 27105. Defendants otherwise deny the allegations in

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Paragraph 13, and further state that Stacy’s operates a place of business on the third floor of 1100

Reynolds Boulevard, Winston Salem, North Carolina 27105.

       14.     Defendants admit the allegations in Paragraph 14.

       15.     Defendants admit Pepsi Bottling Group, NJ (“Pepsi NJ”) has been named as a

Defendant in the Complaint. Defendants otherwise deny the allegations in Paragraph 15.

       16.     Defendants admit that Pepsi USA (“Pepsi USA”) has been named as a Defendant in

the Complaint. Defendants otherwise deny the allegations in Paragraph 16.

                                 JURISDICTION AND VENUE

       17.     Defendants admit the allegations in Paragraph 17.

       18.     Defendants admit the allegations in Paragraph 18.

       19.     Defendants admit that as to the 5th through 25th causes of action set forth in the

Complaint, this adversary proceeding is a core proceeding, at least as to claims arising from

postpetition “Promotions.” Answering further, the 26th cause of action does not relate to any

postpetition Promotions. Answering further, to the extent that the term “Promotions,” as defined in

Paragraph 38 of the Complaint, refers to a promotion conducted pursuant to a “Promotional

Agreement,” Defendants deny that there are any claims arising from postpetition Promotions.

Pursuant to Rule 7012(b), Defendants state that they consent to entry of final orders or judgment

by the Bankruptcy Court with respect to the 5th through 25th causes of action set forth in the

Complaint.

       20.     Defendants admit the allegations in Paragraph 20.

       21.     Defendants admit the allegations in Paragraph 21. Answering further, Plaintiff is

not entitled to recover under the 1st through 4th causes of action set forth. Pursuant to Rule

7012(b), Defendants state that they consent to entry of final orders or judgment by the Bankruptcy

with respect to the 1st through 4th causes of action set forth in the Complaint.

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       22.     Defendants admit the allegations in Paragraph 22. Answering further, Plaintiff is

not entitled to recover under the 5th through 25th causes of action.

       23.     Defendants admit the allegations in Paragraph 23.

                                               FACTS

A.     Case Background.

       24.     Defendants admit the allegations in Paragraph 24.

       25.     Defendants admit the allegations in Paragraph 25.

B.     Facts Generally Relevant to the Preference Counts of the Complaint.

       26.     Defendants admit that GAPT operated supermarkets under a variety of trade names,

including A&P, Waldbaum’s, SuperFresh, Pathmark, Food Basis, The Food Emporium, Best

Cellars, and A&P Liquors. Defendants lack knowledge or information sufficient to form a belief

about the truth of the remaining allegations in Paragraph 26.

       27.     Defendants admit the allegations in Paragraph 27.

       28.     Defendants admit the allegations in Paragraph 28, except to deny that the Transfers

at issue constitute “Preference Payments.”

       29.     Defendants admit the allegations in Paragraph 29.

       30.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 30.

       31.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 31. Answering further, to the extent that the Preference

Defendants owed any amounts to the Debtors as of the time each alleged Transfer was received,

the obligations of the Debtors paid by those Transfers were secured by rights of offset and/or

recoupment to the full extent available. Furthermore, to the extent that any of the obligations paid

by a Transfer would qualify for administrative priority treatment under section 503(b)(9) of the


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Bankruptcy Code, the Preference Defendant would be entitled to payment in full from available

funds and from the proceeds of avoidance actions and other unencumbered assets. Finally, a

chapter 7 trustee would not have been reasonably expected to incur over $30 million in

professional fees in order to liquidate the assets of the Debtors’ estates, which depleted the funds

available to pay claims under section 503(b)(9) of the Bankruptcy Code.

       32.      Defendants admit that between May 4, 2015 and the Petition Date, the Preference

Defendants revised the credit terms offered to the Debtors.         Defendants otherwise deny the

allegations in Paragraph 32.

       33.      Defendants admit that the Preference Defendants requested payment of invoices in

fewer than 30 days and, subsequently, between May 15, 2015 and June 25, 2015, requested that the

timing of payment of invoices be further reduced. Defendants otherwise deny the allegations in

Paragraph 33.

       34.      Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 34.

       35.      Defendants admit that the Debtors made certain payments during the Preference

Period to the Preference Defendants to pay invoices then due. Defendants lack knowledge or

information sufficient to form a belief about the truth of the remaining allegations in Paragraph 35.

       36.      Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 36.

       37.      Defendants admit that by letters dated December 14, 2016, the Committee sent

advance demand letters to each Preference Defendant inviting an exchange of information

regarding any potential defenses and that, despite the Preference Defendants’ having provided

information substantiating their defenses, the parties were unable to resolve the claims asserted by




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the Committee.    Defendants lack knowledge or information sufficient to form a belief about the

truth of the remaining allegations in Paragraph 37.

C.     Facts Generally Relevant to the Debtors’ Accounts Receivable or Promotional Claims
       against the Promotion Defendants.

       38.     Defendants admit the allegations in Paragraph 38.

       39.     Defendants deny the allegations in Paragraph 39.

       40.     Defendants admit that even after expiration of the written Promotional Agreements

referenced in the Complaint, certain of the Promotion Defendants participated in promotions at

GAPT’s stores between the dates of expiration of the Promotional Agreements and the date the last

of the GAPT stores were closed in 2015. To the extent that “Promotions” is defined in Paragraph

38 of the Complaint to refer exclusively to a promotion conducted pursuant to the terms of a

Promotional Agreement, Defendants deny the allegations in Paragraph 40. Defendants otherwise

deny the allegations in Paragraph 40.

       41.     Defendants admit that Frito-Lay developed new products and participated in

promotions at GAPT stores. To the extent that “Promotions” is defined in Paragraph 38 of the

Complaint to refer exclusively to a promotion conducted pursuant to the terms of a Promotional

Agreement, Defendants deny the allegations in the first sentence of Paragraph 41. Defendants

otherwise deny the allegations in Paragraph 41.

       42.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 42. Answering further, Defendants admit that, between 2011

and 2016, Defendants made millions of dollars of payments to the Debtors relating to the Debtors’

participations in Promotions (as defined in Paragraph 38) and other promotions.

       43.     Defendants admit that in connection with certain promotions from and after

December 24, 2010, the Debtor and specific Defendants executed Deal Sheets and the Debtors



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issued invoices or Account Reports. Defendants otherwise deny the allegations in Paragraph 43.

Answering further, during certain periods following December 24, 2010, certain Defendants

entered into written promotional contracts with certain Debtors. However, in 2015, the Debtors

departed from prior practice and declined to enter into new contracts with one or more Defendants.

       44.     Defendants admit that, from time to time, one or more Defendants would

communicate the terms of a specific promotion through Demandtec and that if GAPT accepted the

offer, it would do so electronically and Demandtec would record the time and date of offer and

acceptance on the applicable Deal Sheet. Defendants otherwise deny the allegations in Paragraph

44.

       45.     Defendants deny the allegations in Paragraph 45.           Answering further, written

agreements between certain Defendants and certain Debtors further governed undertakings

between the parties at times after December 24, 2010.

       46.     Defendants deny the allegations in Paragraph 46. Answering further, Defendants

admit that, in connection with some promotions conducted by Defendants at GAPT’s stores,

GAPT actually provided services that may have included one or more of the following tasks: (i)

store set-up, (ii) arranging for advertising; (iii) ensuring that sufficient product was stocked at each

store participating in the promotion; and (iv) arranging with Frito-Lay to deliver sufficient product

to fill shelves and endcaps.

       47.     Defendants deny the allegations in Paragraph 47. Answering further, although

certain promotions required GAPT to incur advertising or other expenses, not every promotion so

required.

       48.     Defendants admit that certain promotions agreed upon between Defendants and

GAPT contemplated a price-reduction by GAPT, and that under those agreed-upon circumstances,

GAPT would reduce the price charged to its customers and Defendants would reimburse GAPT for

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such a reduction to the extent required. Defendants otherwise deny the allegations in Paragraph

48.

       49.     Defendants admit that they are unaware of any instance in which they informed

GAPT that they would not pay for promotions, except insofar as written contracts in place during a

portion of the specified time conditioned payment on GAPT’s performance of its contractual

obligations and therefore provided GAPT with notice that, under certain circumstances, GAPT

would not be paid for Promotions. Answering further, prior to January, 2016, the Debtors refused

to sign a new written contract with one or more Defendants, changing the parties’ relationship.

Defendants otherwise deny the allegations in Paragraph 49.

       50.     Defendants deny the allegations in Paragraph 50. Answering further, Defendants

state that certain contracts between Defendants and the Debtors expressly conditioned payment

upon performance by the Debtors of their obligations to Defendants. Answering further, prior to

January, 2016, the Debtors refused to sign a new written contract with one or more Defendants,

changing the parties’ relationship.

       51.     Defendants admit that certain Promotion Defendants continued to pay for

promotions they ran at GAPT’s stores as late as January 28, 2016, and that in many cases

promotions were paid for by offsetting GAPT’s claims arising out of promotion against their

payables to the applicable Promotion Defendant. Defendants further admit that Frito-Lay made its

last “payment” for a promotion through such an offset, in the amount of $115,235.00 on November

19, 2015. To the extent that “Promotions” is defined in Paragraph 38 of the Complaint to refer

exclusively to a promotion conducted pursuant to the terms of a Promotional Agreement,

Defendants deny the allegations in the first and third sentences of Paragraph 51. Defendants

otherwise deny the allegations in Paragraph 51.

       52.     Defendants deny the allegations in Paragraph 52.

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                         AS AND FOR A FIRST CAUSE OF ACTION

     (Avoidance of Preferential Transfers—11 U.S.C. § 547—As to Defendant Frito-Lay)

       53.     Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 52 of the Complaint as if fully set forth herein.

       54.     Defendants admit the allegations in Paragraph 54.

       55.     Defendants admit the allegations in Paragraph 55.

       56.     Defendants admit the allegations in Paragraph 56.

       57.     Because there is no section 110(10) of title 11 of the United States Code,

Defendants deny the allegations in Paragraph 57.

       58.     Defendants admit the allegations in Paragraph 58.

       59.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in the first sentence of Paragraph 59, and deny the allegations in the second

sentence of Paragraph 59.

       60.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 60. Answering further, to the extent that the Preference

Defendants owed any amounts to the Debtors as of the time each alleged Transfer was received,

the obligations of the Debtors paid by those Transfers were secured by rights of offset and/or

recoupment to the full extent available. Furthermore, to the extent that any of the obligations paid

by a Transfer would qualify for administrative priority treatment under section 503(b)(9) of the

Bankruptcy Code, the Preference Defendant would be entitled to payment in full from available

funds and from the proceeds of avoidance actions and other unencumbered assets. Finally, a

chapter 7 trustee would not have been reasonably expected to incur over $30 million in

professional fees in order to liquidate the assets of the Debtors’ estates, which depleted the funds

available to pay claims under section 503(b)(9) of the Bankruptcy Code.


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       61.     Defendants deny the allegations in Paragraph 61.

       62.     Defendants admit the allegations in Paragraph 62.

       63.     Defendants deny the allegations in Paragraph 63.

                       AS AND FOR A SECOND CAUSE OF ACTION

             (Recovery of Property—11 U.S.C. § 550—As to Defendant Frito-Lay)

       64.     Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 63 of the Complaint as if fully set forth herein.

       65.     The allegations in Paragraph 65 are conclusions of law as to which no response is

required.

       66.     Defendants admit the allegations in Paragraph 66.

       67.     Defendants deny the allegations in Paragraph 67.

                         AS AND FOR A THIRD CAUSE OF ACTION

 (Avoidance of Preferential Transfers—11 U.S.C. § 547—As to Defendant Bottling Group)

       68.     Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 67 of the Complaint as if fully set forth herein.

       69.     Defendants admit the allegations in Paragraph 69.

       70.     Defendants admit the allegations in Paragraph 70.

       71.     Defendants admit the allegations in Paragraph 71.

       72.     Because there is no section 110(10) of title 11 of the United States Code,

Defendants deny the allegations in Paragraph 72.

       73.     Defendants admit the allegations in Paragraph 73.

       74.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in the first sentence of Paragraph 74. Defendants deny the allegations in the

second sentence of Paragraph 74.


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       75.      Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 75. Answering further, to the extent that the Preference

Defendants owed any amounts to the Debtors as of the time each alleged Transfer was received,

the obligations of the Debtors paid by those Transfers were secured by rights of offset and/or

recoupment to the full extent available. Furthermore, to the extent that any of the obligations paid

by a Transfer would qualify for administrative priority treatment under section 503(b)(9) of the

Bankruptcy Code, the Preference Defendant would be entitled to payment in full from available

funds and from the proceeds of avoidance actions and other unencumbered assets. Finally, a

chapter 7 trustee would not have been reasonably expected to incur over $30 million in

professional fees in order to liquidate the assets of the Debtors’ estates, which depleted the funds

available to pay claims under section 503(b)(9) of the Bankruptcy Code.

       76.     Defendants deny the allegations in Paragraph 76.

       77.     Defendants admit the allegations in Paragraph 77.

       78.     Defendants deny the allegations in Paragraph 78.

                       AS AND FOR A FOURTH CAUSE OF ACTION

                           (Recovery of Property—11 U.S.C. § 550—
                               As to Defendant Bottling Group)

       79.     Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 78 of the Complaint as if fully set forth herein.

       80.     The allegations in Paragraph 80 are conclusions of law as to which no response is

required.

       81.     Defendants admit the allegations in Paragraph 81.

       82.     Defendants deny the allegations in Paragraph 82.




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                         AS AND FOR A FIFTH CAUSE OF ACTION

               (Breach of Express and Implied Contract—Defendant Frito-Lay)

       83.     Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 82 of the Complaint as if fully set forth herein.

       84.     Defendants admit that, at times between December 24, 2010 and November 25,

2015, Frito-Lay initiated Promotion Transactions with GAPT by making offers electronically to

GAPT through DemandTec via a Deal Sheet and that GAPT accepted certain of those offers and

that certain of those offers were memorialized at least in part through Transaction Documents.

Defendants otherwise deny the allegations in Paragraph 84.

       85.     Defendants admit that, in connection with some of the Promotions (as defined in

Paragraph 38 of the Complaint) and promotions (not otherwise falling within such definition)

conducted by Frito-Lay at GAPT’s stores, GAPT actually provided services that may have

included one or more of the following tasks: (i) store set-up, (ii) arranging for advertising; (iii)

ensuring that sufficient product was stocked at each store participating in the Promotion or

promotion; and (iv) arranging with Frito-Lay to deliver sufficient product to fill shelves and

endcaps. Defendants otherwise deny the allegations in Paragraph 85.

       86.     Defendants admit that, in connection with some of the Promotions and promotions

conducted by Frito-Lay at GAPT’s stores, GAPT incurred out-of-pocket expenses, such as: (i)

advertising expenses; (ii) expenses incurred in positioning product; and (iii) loss of margin

resulting from discounting prices in connection with a promotion. Defendants otherwise deny the

allegations in Paragraph 86.

       87.     Defendants admit that, under certain circumstances, Frito-Lay agreed to reimburse

GAPT for price reductions by GAPT in connection with a promotion. Defendants otherwise deny

the allegations in Paragraph 87.


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       88.     Defendants admit the allegations in Paragraph 88.

       89.     Defendants admit the allegations in Paragraph 89.

       90.     Defendants admit that Frito-Lay has not paid GAPT for all Promotions conducted

at GAPT’s stores. Answering further, Defendants state that written agreements between Frito-Lay

and GAPT that were in place for a portion of the time at issue excused payment under certain

circumstances and that certain promotions were conducted at times during which the Debtors owed

money to Frito-Lay.

       91.     Defendants admit that, to the extent that Frito-Lay is found to owe any amounts to

the Debtors, those amounts must be reduced by any credits to which Frito-Lay shows itself

entitled. Defendants otherwise deny the allegations in Paragraph 91.

       92.     Defendants admit that, to the extent that Frito-Lay is found to owe any amounts to

the Debtors, those amounts must be reduced by any credits to which Frito-Lay shows itself

entitled. Defendants otherwise deny the allegations in Paragraph 92.

             ALTERNATIVELY, AS AND FOR A SIXTH CAUSE OF ACTION

                           (Unjust Enrichment—Defendant Frito-Lay)
       93.       Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 92 of the Complaint as if fully set forth herein.

       94.     Defendants admit that at times between December 24, 2010 and November 25,

2015, Frito-Lay conducted Promotions at GAPT’s stores.             Defendants otherwise deny the

allegations in Paragraph 94.

       95.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 95.

       96.     Defendants admit that Frito-Lay benefited from certain Promotions conducted at

GAPT’s stores. Defendants otherwise deny the allegations in Paragraph 96.


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       97.     Defendants admit that, to the extent that Frito-Lay is obligated to pay any amount to

the Debtors on account of any promotions, that amount must be reduced by any credits to which

Frito-Lay shows itself entitled. Defendants otherwise deny the allegations in Paragraph 97.

           ALTERNATIVELY, AS AND FOR A SEVENTH CAUSE OF ACTION

                          (Promissory Estoppel—Defendant Frito Lay)

       98.      Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 97 of the Complaint as if fully set forth herein.

       99.     Defendants deny the allegations in Paragraph 99. Answering further, certain of

Frito-Lay’s payment obligations were addressed by one or more contracts with the Debtors, which

contracts conditioned those obligations on certain performance obligations imposed upon the

Debtors.

       100.    Defendants deny that, with respect to each and every Promotion involving Frito-

Lay, the Debtors expended significant efforts and incurred significant expenses. Defendants

otherwise lack knowledge or information sufficient to form a belief about the truth of the

allegations in Paragraph 100.

       101.    Defendants deny the allegations in Paragraph 101.

       102.    Defendants admit that, to the extent that Frito-Lay is found to owe any amounts to

the Debtors, those amounts must be reduced by any credits to which Frito-Lay shows itself

entitled. Defendants otherwise deny the allegations in Paragraph 102.

                      AS AND FOR AN EIGHTH CAUSE OF ACTION

             (Breach of Express and Implied Contract—Defendant Bottling Group)

       103.     Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 102 of the Complaint as if fully set forth herein.




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       104.      Defendants admit that between December 24, 2010 and November 25, 2015,

Bottling Group initiated Promotion Transactions with GAPT by making offers electronically to

GAPT through Demandtec via a Deal Sheet and that GAPT accepted certain of those offers and

that certain of those offers were memorialized at least in part through Transaction Documents.

Defendants otherwise deny the allegations in Paragraph 104.

       105.      Defendants admit that, in connection with some of the Promotions (as defined in

Paragraph 38 of the Complaint) and promotions (not otherwise falling within such definition)

conducted by Bottling Group at GAPT’s stores, GAPT actually provided services that may have

included one or more of the following tasks: (i) store set-up, (ii) arranging for advertising; (iii)

ensuring that sufficient product was stocked at each store participating in the Promotion or

promotion; and (iv) arranging with Bottling Group to deliver sufficient product to fill shelves and

endcaps. Defendants otherwise deny the allegations in Paragraph 105.

       106.      Defendants admit that, in connection with some of the promotions conducted by

Bottling Group at GAPT’s stores, GAPT incurred out-of-pocket expenses, such as: (i) advertising

expenses; (ii) expenses incurred in positioning product; and (iii) loss of margin resulting from

discounting prices in connection with a promotion. Defendants otherwise deny the allegations in

Paragraph 106.

       107.      Defendants admit that, under certain circumstances, Bottling Group agreed to

reimburse GAPT for price reductions by GAPT in connection with a promotion. Defendants

otherwise deny the allegations in Paragraph 107.

       108.      Defendants admit the allegations in Paragraph 108.

       109.      Defendants admit the allegations in Paragraph 109.

       110.      Defendants admit the allegations in Paragraph 110, except to state that under certain

circumstances, payment has been excused based on reasons that include (i) the lack of a valid

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contract, (ii) the Debtors’ failure to pay for goods purchased; and (iii) the Debtors’ failure to

perform all obligations under any applicable contract.

       111.      Defendants admit that, to the extent that Bottling Group is found to owe any

amounts to the Debtors, those amounts must be reduced by any credits to which Bottling Group

shows itself entitled. Defendants otherwise deny the allegations in Paragraph 111.

       112.      Defendants admit that, to the extent that Bottling Group is found to owe any

amounts to the Debtors, those amounts must be reduced by any credits to which Bottling Group

shows itself entitled. Defendants otherwise deny the allegations in Paragraph 112.

              ALTERNATIVELY, AS AND FOR A NINTH CAUSE OF ACTION

                            (Unjust Enrichment—Defendant Bottling Group)

       113.      Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 112 of the Complaint as if fully set forth herein.

       114.      Defendants admit that at times between December 24, 2010 and November 25,

2015, Bottling Group conducted promotions at GAPT’s stores. Defendants otherwise deny the

allegations in Paragraph 114.

       115.      Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 115.

       116.      Defendants admit that Bottling Group benefited from certain Promotions conducted

at GAPT’s stores. Defendants otherwise deny the allegations in Paragraph 116.

       117.      Defendants admit that, to the extent that Bottling Group is obligated to pay any

amount to the Debtors on account of any promotions, that amount must be reduced by any credits

to which Bottling Group shows itself entitled. Defendants otherwise deny the allegations in

Paragraph 117.




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              ALTERNATIVELY, AS AND FOR A TENTH CAUSE OF ACTION

                       (Promissory Estoppel—Defendant Bottling Group)

       118.     Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 117 of the Complaint as if fully set forth herein.

       119.     Defendants deny the allegations in Paragraph 119.

       120.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 120.

       121.     Defendants admit that, to the extent that Bottling Group promised to pay for a

specific Promotion (as defined in paragraph 38 of the Complaint) or a promotion (that falls outside

of the definition set forth in paragraph 38 of the Complaint, such reliance was reasonable.

Defendants otherwise deny the allegations in Paragraph 121.

       122.     Defendants admit that, to the extent that Bottling Group is found to owe any

amounts to the Debtors, those amounts must be reduced by any credits to which Bottling Group

shows itself entitled. Defendants otherwise deny the allegations in Paragraph 122.

                    AS AND FOR AN ELEVENTH CAUSE OF ACTION

                Breach of Express and Implied Contract—Defendant Pepsi NJ

       123.     Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 122 of the Complaint as if fully set forth herein

       124.     Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 124.

       125.     Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 125.


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       126.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 126.

       127.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 127.

       128.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 128.

       129.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 129.

       130.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 130.

       131.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 131.

       132.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 132.




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          ALTERNATIVELY, AS AND FOR A TWELFTH CAUSE OF ACTION

                           (Unjust Enrichment—Defendant Pepsi NJ)

       133.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 132 of the Complaint as if fully set forth herein.

       134.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 134.

       135.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 135.

       136.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 136.

       137.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 137.

        ALTERNATIVELY, AS AND FOR A THIRTEENTH CAUSE OF ACTION

                          (Promissory Estoppel—Defendant Pepsi NJ)

       138.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 137 of the Complaint as if fully set forth herein.

       139.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 139.




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       140.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 140.

       141.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 141.

       142.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi NJ and the Complaint lacks sufficient detail from which to identify the transaction(s) at

issue that relate to Pepsi NJ. As a result, Defendants deny the allegations in Paragraph 142.

                    AS AND FOR A FOURTEENTH CAUSE OF ACTION

              (Breach of Express and Implied Contract—Defendant Pepsi USA)

       143.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 143 of the Complaint as if fully set forth herein.

       144.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 144.

       145.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 145.

       146.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 146.




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       147.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 147.

       148.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 148.

       149.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 149.

       150.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 150.

       151.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 151.

       152.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 152.

         ALTERNATIVELY, AS AND FOR A FIFTEENTH CAUSE OF ACTION

                         (Unjust Enrichment—Defendants Pepsi USA)

       153.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 152 of the Complaint as if fully set forth herein.




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       154.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 154.

       155.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 155.

       156.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 156.

       157.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 157.

         ALTERNATIVELY, AS AND FOR A SIXTEENTH CAUSE OF ACTION

                         (Promissory Estoppel—Defendant Pepsi USA)

       158.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 157 of the Complaint as if fully set forth herein.

       159.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 159.

       160.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 160.




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        161.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 161.

        162.    Despite diligent effort, Defendants have been unable to identify the entity referred

to as Pepsi USA and the Complaint lacks sufficient detail from which to identify the transaction(s)

at issue that relate to Pepsi USA. As a result, Defendants deny the allegations in Paragraph 162.

                   AS AND FOR A SEVENTEENTH CAUSE OF ACTION

                 (Breach of Express and Implied Contract—Defendant Quaker Sales)

        163.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 162 of the Complaint as if fully set forth herein.

        164.    Defendants admit that between December 24, 2010 and November 25, 2015,

Quaker initiated Promotion Transactions with GAPT by making offers electronically to GAPT

through Demandtec via a Deal Sheet and that GAPT accepted certain of those offers and that

certain of those offers were memorialized at least in part through Transaction Documents.

Defendants otherwise deny the allegations in Paragraph 164.

        165.    Defendants admit that, in connection with some of the Promotions (as defined in

Paragraph 38 of the Complaint) and promotions (not otherwise falling within such definition)

conducted by Quaker at GAPT’s stores, GAPT actually provided services that may have included

one or more of the following tasks: (i) store set-up, (ii) arranging for advertising; (iii) ensuring that

sufficient product was stocked at each store participating in the Promotion or promotion; and (iv)

arranging with Quaker to deliver sufficient product to fill shelves and endcaps. Defendants

otherwise deny the allegations in Paragraph 165.

        166.    Defendants admit that, in connection with some of the promotions conducted by

Quaker at GAPT’s stores, GAPT incurred out-of-pocket expenses, such as: (i) advertising


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expenses; (ii) expenses incurred in positioning product; and (iii) loss of margin resulting from

discounting prices in connection with a promotion. Defendants otherwise deny the allegations in

Paragraph 166.

       167.      Defendants deny the allegations in Paragraph 167.

       168.      Defendants admit the allegations in Paragraph 168.

       169.      Defendants admit the allegations in Paragraph 169.

       170.      Defendants deny the allegations in Paragraph 170.

       171.      Defendants admit that, to the extent that Quaker is found to owe any amounts to the

Debtors, those amounts must be reduced by any credits to which Quaker shows itself entitled.

Defendants otherwise deny the allegations in Paragraph 171.

       172.      Defendants admit that, to the extent that Quaker is found to owe any amounts to the

Debtors, those amounts must be reduced by any credits to which Quaker shows itself entitled.

Defendants otherwise deny the allegations in Paragraph 172.

       ALTERNATIVELY, AS AND FOR AN EIGHTEENTH CAUSE OF ACTION

                             (Unjust Enrichment—Defendant Quaker Sales)

       173.      Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 172 of the Complaint as if fully set forth herein.

       174.      Defendants admit the allegations in Paragraph 174.

       175.      Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 175.

       176.      Defendants admit that Quaker benefited from certain Promotions conducted at

GAPT’s stores. Defendants otherwise deny the allegations in Paragraph 176.




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       177.    Defendants admit that, to the extent that Quaker is obligated to pay any amount to

the Debtors on account of any promotions, that amount must be reduced by any credits to which

Quaker shows itself entitled. Defendants otherwise deny the allegations in Paragraph 177.

        ALTERNATIVELY, AS AND FOR A NINETEENTH CAUSE OF ACTION

                        (Promissory Estoppel—Defendant Quaker Sales)

       178.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 177 of the Complaint as if fully set forth herein.

       179.    Defendants admit that Quaker promised to pay GAPT certain consideration for

participating in certain of the Promotions conducted at GAPT stores. Defendants otherwise deny

the allegations in Paragraph 179.

       180.    Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 180.

       181.    Defendants admit that, to the extent that Quaker made a promise to pay GAPT

specified consideration for a Promotion, GAPT’s reliance on such a promise was reasonable.

Defendants otherwise deny the allegations in Paragraph 181.

       182.    Defendants admit that, to the extent that Quaker is found to owe any amounts to the

Debtors, those amounts must be reduced by any credits to which Bottling Group shows itself

entitled. Defendants otherwise deny the allegations in Paragraph 182.

                        AS AND FOR AN TWENTIETH CAUSE OF ACTION

                    (Breach of Express and Implied Contract—Defendant Stacy’s)

       183.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 182 of the Complaint as if fully set forth herein.




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       184.    Defendants deny the allegations in Paragraph 184.           Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       185.    Defendants deny the allegations in Paragraph 185.           Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       186.    Defendants deny the allegations in Paragraph 186.           Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       187.    Defendants deny the allegations in Paragraph 187.           Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       188.    Defendants deny the allegations in Paragraph 188.           Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       189.    Defendants deny the allegations in Paragraph 189. Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       190.    Defendants deny the allegations in Paragraph 190.           Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       191.    Defendants admit that, to the extent that Stacy’s is found to owe any amounts to the

Debtors, those amounts must be reduced by any credits to which Stacy’s shows itself entitled.

Defendants otherwise deny the allegations in Paragraph 191.

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       192.    Defendants admit that, to the extent that Stacy’s is found to owe any amounts to the

Debtors, those amounts must be reduced by any credits to which Stacy’s shows itself entitled.

Defendants otherwise deny the allegations in Paragraph 192.

      ALTERNATIVELY, AS AND FOR A TWENTY-FIRST CAUSE OF ACTION

                            (Unjust Enrichment—Defendant Stacy’s)

       193.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 192 of the Complaint as if fully set forth herein.

       194.    Defendants deny the allegations in Paragraph 194. Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       195.    Defendants deny the allegations in Paragraph 195. Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       196.    Defendants admit that Stacy’s benefited from certain Promotions conducted at

GAPT’s stores. Defendants otherwise deny the allegations in Paragraph 196.

       197.    Defendants admit that, to the extent that Stacy’s is obligated to pay any amount to

the Debtors on account of any promotions, that amount must be reduced by any credits to which

Stacy’s shows itself entitled. Defendants otherwise deny the allegations in Paragraph 197.

     ALTERNATIVELY, AS AND FOR A TWENTY-SECOND CAUSE OF ACTION

                           (Promissory Estoppel—Defendant Stacy’s)

       198.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 197 of the Complaint as if fully set forth herein.




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       199.    Defendants deny the allegations in Paragraph 199.           Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       200.    Defendants deny the allegations in Paragraph 200.           Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       201.    Defendants deny the allegations in Paragraph 201.           Answering further, the

participant in, or intended beneficiary of, certain promotions attributed to Stacy’s by Plaintiff was

actually Frito-Lay.

       202.    Defendants admit that, to the extent that Stacy’s is found to owe any amounts to the

Debtors, those amounts must be reduced by any credits to which Stacy’s shows itself entitled.

Defendants otherwise deny the allegations in Paragraph 202.

                      AS AND FOR A TWENTY-THIRD CAUSE OF ACTION

        (Breach of Express and Implied Contract—Defendants Muller Quaker and PepsiCo)

       203.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 202 of the Complaint as if fully set forth herein.

       204.    Defendants admit that between December 24, 2010 and November 25, 2015,

Muller Quaker initiated Promotion Transactions with GAPT by making offers electronically to

GAPT through Demandtec via a Deal Sheet and that GAPT accepted certain of those offers and

that certain of those offers were memorialized at least in part through Transaction Documents.

Defendants otherwise deny the allegations in Paragraph 204.

       205.    Defendants admit that, in connection with some of the Promotions (as defined in

Paragraph 38 of the Complaint) and promotions (not otherwise falling within such definition)

conducted by Bottling Group at GAPT’s stores, GAPT actually provided services that may have


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included one or more of the following tasks: (i) store set-up, (ii) arranging for advertising; (iii)

ensuring that sufficient product was stocked at each store participating in the Promotion or

promotion; and (iv) arranging with Muller Quaker to deliver sufficient product to fill shelves and

endcaps. Defendants otherwise deny the allegations in Paragraph 205.

       206.    Defendants admit that, in connection with some of the Promotions and promotions

conducted by Frito-Lay at GAPT’s stores, GAPT incurred out-of-pocket expenses, such as: (i)

advertising expenses; (ii) expenses incurred in positioning product; and (iii) loss of margin

resulting from discounting prices in connection with a promotion. Defendants otherwise deny the

allegations in Paragraph 206.

       207.    Defendants admit that, under certain circumstances, Muller Quaker agreed to

reimburse GAPT for price reductions by GAPT in connection with a promotion. Defendants

otherwise deny the allegations in Paragraph 207.

       208.    Defendants admit the allegations in Paragraph 208.

       209.    Defendants admit the allegations in Paragraph 209.

       210.    Defendants admit the allegations in Paragraph 210.

       211.    Defendants admit that, to the extent that Muller Quaker is found to owe any

amounts to the Debtors, those amounts must be reduced by any credits to which Muller Quaker

shows itself entitled. Defendants otherwise deny the allegations in Paragraph 211.

       212.    Defendants admit that, to the extent that Muller Quaker is found to owe any

amounts to the Debtors, those amounts must be reduced by any credits to which Muller Quaker

shows itself entitled. Defendants otherwise deny the allegations in Paragraph 212.




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     ALTERNATIVELY, AS AND FOR A TWENTY-FOURTH CAUSE OF ACTION

                 (Unjust Enrichment—Defendants Muller Quaker and PepsiCo)

       213.      Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 212 of the Complaint as if fully set forth herein.

       214.      Defendants admit the allegations in Paragraph 214.

       215.      Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 215.

       216.      Defendants admit that Muller Quaker benefited from certain Promotions conducted

at GAPT’s stores. Defendants otherwise deny the allegations in Paragraph 216.

       217.      Defendants admit that, to the extent that Muller Quaker or PepsiCo are found to

owe any amounts to the Debtors, those amounts must be reduced by any credits to which Muller

Quaker or PepsiCo show themselves entitled. Defendants otherwise deny the allegations in

Paragraph 217.

      ALTERNATIVELY, AS AND FOR A TWENTY-FIFTH CAUSE OF ACTION

               (Promissory Estoppel—Defendants Muller Quaker and PepsiCo)

       218.      Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 218 of the Complaint as if fully set forth herein.

       219.      Defendants admit that Muller Quaker promised to pay GAPT certain consideration

for participating in certain of the promotions conducted at GAPT stores. Defendants otherwise

deny the allegations in Paragraph 219.

       220.      Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 220.




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        221.    Defendants admit that, to the extent that Muller Quaker expressly promised to pay

GAPT certain consideration for participation in a promotion, reliance on that promise was

reasonable. Defendants otherwise deny the allegations in Paragraph 221.

        222.    Defendants admit that, to the extent that Muller Quaker is found to owe any

amounts to the Debtors, those amounts must be reduced by any credits to which Muller Quaker

shows itself entitled. Defendants otherwise deny the allegations in Paragraph 222.

                   AS AND FOR A TWENTY-SIXTH CAUSE OF ACTION

                              (Breach of Contract—Against All Defendants)

        223.    Defendants hereby reallege and incorporate by reference their responses to

Paragraphs 1 through 222 of the Complaint as if fully set forth herein.

        224.    Defendants admit that after the Petition Date, the Debtors and PepsiCo, on its own

behalf and for the benefit of its subsidiaries, affiliates and affiliated bottlers (collectively, “Pepsi”),

entered into an Interim Credit Agreement pursuant to which the Debtors provided Pepsi with post-

petition deposits (“Security Deposits”) to secure payment by the Debtors for post-petition

purchases of Pepsi beverage products and Frito-Lay snack products (collectively, “Deposits”).

Defendants otherwise deny the allegations in Paragraph 224.

        225.    Defendants admit the allegations in Paragraph 225.

        226.    Defendants admit the allegations in Paragraph 226.

        227.    Defendants admit the allegations in Paragraph 227.

        228.    Defendants admit the allegations in Paragraph 228.

        229.    Defendants admit the allegations in Paragraph 229.

        230.    Defendants admit the allegations in Paragraph 230. Answering further, Defendants

are currently making arrangements to refund the Holdback Amount to the Debtors.




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       231.       Defendants admit that by filing the Complaint, Plaintiff has demanded the return of

the Holdback Amount, and that Pepsi has not repaid the same. Defendants lack knowledge or

information sufficient to form a belief about the truth of the allegations in Paragraph 231.

Answering further, Defendants are currently making arrangements to refund the Holdback Amount

to the Debtors.

       232.       Defendants admit the allegations in Paragraph 232. Answering further, Defendants

are currently making arrangements to refund the Holdback Amount to the Debtors.

                                   RESERVATION OF RIGHTS

       233.       To the extent Paragraph 233 requires a response, Defendants lack knowledge or

information sufficient to form a belief about the truth of the allegations in Paragraph 233.

       234.       Defendants deny that Plaintiff has the right to supplement or amend the Complaint,

except as permitted by the Scheduling Order and Rule 15.

                                    AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE
                       (Ordinary Course of Business – 11 U.S.C. § 547(c)(2))

       Those Transfers that Defendants received on account of antecedent debt were in payment

of debts incurred in the ordinary course of business between the Debtors and the applicable

Defendant, paid in the ordinary course of business between the Debtors and the applicable

Defendant, and/or paid according to ordinary business terms. As a result, pursuant to 11 U.S.C.

§ 547(c)(2), these Transfers may not be avoided or recovered from the Defendants.

                              SECOND AFFIRMATIVE DEFENSE
                          (Subsequent New Value – 11 U.S.C. § 547(c)(4))

       After receiving one or more of the Transfers as alleged in the Complaint, the applicable

Defendant provided products to the Debtors (a) for which payment was not secured by an

otherwise unavoidable security interest, and (b) on account of which the Debtors did not make an


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otherwise unavoidable transfer to, or for the benefit of, the applicable Defendant. Under 11

U.S.C. § 547(c)(4), Plaintiff may not avoid or recover the Transfers at issue to the extent of this

new value provided by the Defendants.

                            THIRD AFFIRMATIVE DEFENSE
                    (Failure to State a Claim upon which Relief May Be
               Granted - Fed. R. Bankr. P. 7008, 7012- Counts I through XXV)

       Plaintiff has failed to allege sufficient facts in the First through Twenty-Fifth Counts of

its Complaint to show the right to relief alleged is more than speculative. Moreover, Plaintiff

fails to “state a claim that is plausible on its face” (see, e.g. Bell Atlantic v. Twombly, 127 S.Ct.

1955, 1965, 1974 (2007)). The allegations set forth in the First through Twenty-Fifth Counts fail

to identify the specific debtor or debtors involved, the dates on which obligations were incurred,

relying, in the Fifth Through Twenty-Fifth Counts, upon an approximate five-year range, and fail

to identify any specific transfers or obligations at issue, instead providing summary balances.

Therefore, the allegations of the Complaint do not meet the pleading requirements of Rule

8(a)(2), made applicable Rule 7008, and the First through Twenty-Fifth Counts asserted in the

Complaint should be dismissed pursuant to Rule 12(b)(6), made applicable by Rule 7012(b).

                             FOURTH AFFIRMATIVE DEFENSE
                         (Statute of Limitations - Counts I through IV)

       Because the Debtors filed petitions for bankruptcy protection on July 19, 2015, the

deadline for the assertion of claims under Sections 547 and 550 of the Bankruptcy Code was July

19, 2017. The Debtors’ First through Fourth Causes of Action, filed on April 16, 2018, are each

untimely under 11 U.S.C. § 546 and therefore fail to state a claim upon which relief may be

granted.




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                             FIFTH AFFIRMATIVE DEFENSE
                      (Statute of Limitations - Counts V through XXV)

       In the Fifth through Twenty-Fifth Counts of the Complaint, Plaintiff alleges that certain

amounts are due for promotions taking place between December 24, 2010 and various dates in

either 2015 or 2016, without providing any information from which to discern the specific date

or dates on which such promotions took place and the subject amounts became due. To the

extent Plaintiff seeks to recover any amounts due for promotions taking place prior to April 16,

2012, Plaintiff is barred under the statute of limitations under the laws of the state of New York

from recovering on account of such promotions under claims of either express or implied

contract, estoppel or unjust enrichment.

                              SIXTH AFFIRMATIVE DEFENSE
                               (Setoff - Counts V through XXV)

       Defendants are entitled to set off any debts owed to them against Plaintiff’s claims

against such Defendants set forth in the Fifth through Twenty-Fifth Counts of the Complaint. In

connection therewith, the Defendants hereby incorporate by reference their filed claims in the

Debtors’ bankruptcy cases.

                             SEVENTH AFFIRMATIVE DEFENSE
                             (Recoupment - Counts V through XXV)

       To the extent that any of Plaintiff’s claims in the Fifth through Twenty-Fifth Counts of

the Complaint arise from an actual or implied contract, and Plaintiff owes any money to

Defendants under such contract, the Defendant owed money is entitled to recoup such amounts

from any debts owed by it to Plaintiff thereunder.




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                             EIGHTH AFFIRMATIVE DEFENSE
                              (Laches - Counts V through XXV)

       To the extent that Plaintiff has failed to timely assert claims against Defendants due to

negligence or other cause, Plaintiff is barred by the doctrine of laches from collecting from

Defendants under the Complaint.

                           NINTH AFFIRMATIVE DEFENSE
            (Breach of Contract - Counts V, VIII, XI, XIV, XVII, XX and XXIII)

       In the Fifth, Eighth, Eleventh, Fourteenth, Seventeenth, Twentieth, Twenty-Third Counts

of its Complaint, Plaintiff alleges the existence of express and implied contracts between the

Debtors and either (a) one or more Defendants, or (b) an additional party with whom one or more

Defendants are alleged to share liability. Specifically, Plaintiff alleges, despite the absence of a

written contract signed by Plaintiff and specific Defendants, that an actual or implied contract

was nevertheless formed. Except where stated otherwise, the Defendants dispute the allegation

that either an actual or implied contract has been formed. Nevertheless, to the extent a contract

is found to have been formed, Defendants’ performance under such contract(s) is excused to the

extent that the terms of such express or implied contacts have been breached by the Debtors.

Prior contracts into which the Debtors have entered with certain Defendants required the Debtors

to pay for all goods purchased on credit and to continue to sell and promote Defendants’

products. In this case, the Debtors have failed to pay certain Defendants for products purchased

and have ceased all business operations. To the extent that the Debtors have breached their

obligations to the Defendants, they cannot enforce an express or implied contract against them.

                            TENTH AFFIRMATIVE DEFENSE
                  (Estoppel- Counts V, VIII, XI, XIV, XVII, XX and XXIII)

       In the Fifth, Eighth, Eleventh, Fourteenth, Seventeenth, Twentieth, Twenty-Third Counts

of its Complaint, Plaintiff alleges the existence of express and implied contracts between the

Debtors and the following entities: Frito, Quaker, Stacy’s, Muller Quaker Dairy, Pepsi NJ,

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Bottling Group, and Pepsi USA. To the extent that any of these alleged express or implied

contracts constituted executory contracts, the Debtors were obligated to list those contracts in

Schedule G of the Debtors’ schedules. The Debtors did not list any such contracts in their

Schedules. Therefore, to the extent any of the alleged contracts constituted an executory contract

as of the date of the Debtors’ bankruptcy filing, Plaintiff is estopped from seeking to enforce any

such contracts against the Defendants.

                                RESERVATION OF RIGHTS

       As discovery has not yet formally concluded in this matter, the Defendants reserve the

right to assert any other defense available at law or in equity and to amend their Answer as

necessary or desirable.

                                    PRAYER FOR RELIEF

       WHEREFORE, Defendants respectfully request that the Court grant judgment in their

favor and against Plaintiff on all counts set forth in the Complaint, and such other and further

relief as the Court deems just and proper.

Dated: October 4, 2018                               Respectfully submitted,

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